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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                   Plaintiff,
                                             Case No. 11-20188
 vs.
                                             HON. GEORGE CARAM STEEH

 D-2 PHILLIP HARPER,

               Defendant.
 _____________________________/

   ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE
   OR CORRECT HIS SENTENCE UNDER 18 U.S.C. § 2255 [DOC. 254]

       Following a jury trial, defendant Phillip Harper was found guilty of

 conspiracy (count one), five separate carjackings (counts two, eight, ten,

 twelve and fourteen) and four corresponding instances of using and

 carrying a firearm during an in relation to a crime of violence in violation of

 18 U.S.C. § 924(c) (counts three, nine, eleven and fifteen). The court

 sentenced Harper to 60 months on count one, 151 months each on counts

 two, eight, ten, twelve and fourteen (concurrent with one another), 60

 consecutive months on count three, 300 consecutive months on count nine,

 300 consecutive months on count eleven, and 300 consecutive months on

 count fifteen.


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       Phillip Harper appealed his convictions and sentence. On March 3,

 2016, the Sixth Circuit Court of Appeals denied his appeal and affirmed his

 convictions and sentence. On August 1, 2016, Harper filed a petition for

 writ of certiorari with the Supreme Court. The Supreme Court granted his

 petition and issued a judgment vacating the Sixth Circuit’s prior decision,

 and remanded for further consideration in light of Dean v. United States,

 581 U.S. __, 137 S.Ct. 1170 (2017). On May 26, 2017, the Sixth Circuit

 affirmed Harper’s conviction for the reasons stated in its prior opinion and

 vacated his sentence for the limited purpose of resentencing in light of

 Dean.

       On June 21, 2016, Harper filed his motion in this court seeking to

 vacate his convictions and sentence. In his pro se motion, Harper

 challenges his 18 U.S.C. § 924(c) convictions based on Johnson v. United

 States, 135 S.Ct. 2551 (2015). Johnson held that the “residual clause” of

 a different statute, 18 U.S.C. § 924(e), the Armed Career Criminal Act

 (ACCA), was unconstitutionally vague. Harper argues that 18 U.S.C. §

 924(c)(3)(B) is also unconstitutionally vague. If § 924(c)(3)(B) is found to

 be unconstitutional, Harper then argues that carjacking is not a “crime of

 violence” under 18 U.S.C. § 924(c)(3)(A).




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       The Sixth Circuit addressed and rejected the argument that Johnson

 invalidated 18 U.S.C. § 924(c)(3)(B) as unconstitutionally vague in another

 carjacking case. In United States v. Taylor, 814 F.3d 340, 376-77 (6th Cir.

 2016), the Court held that the definition of “crime of violence” in § 924(c) is

 different than the definition in the ACCA residual clause, such that § 924(c)

 is not unconstitutionally vague. Subsequent Sixth Circuit panels have

 cited Taylor and reached the same conclusion. See United States v.

 Shaundelle Dial, No. 16-3528, 2017 WL 2304370, at *4 (6th Cir. May 26,

 2017); United States v. Odum, __ F.3d __, 2017 WL 6524022, *5 (6th Cir.

 November 30, 2017). Therefore, under Sixth Circuit precedent, this court

 finds that 18 U.S.C. § 924(c)(3)(B) is not unconstitutionally vague.

       The court need not address Harper’s second argument, but does

 note that courts addressing the issue of whether carjacking is a crime of

 violence under the use-of-physical-force clause contained in 18 U.S.C. §

 924(c)(3)(A) have concluded that federal carjacking categorically qualifies

 as a “crime of violence” as that term is defined in the statute. See, e.g., In

 re Smith, 829 F.3d 1276, 1280 (11th Cir. 2016); United States v. Jones,

 642 F. App’x 304, 305 (5th Cir. 2016).




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      IT IS HEREBY ORDERED that defendant Phillip Harper’s motion to

 vacate, set aside, or correct his sentence under 28 U.S.C. § 2255 is

 DENIED.

 Dated: January 10, 2018

                                          s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE

                                 CERTIFICATE OF SERVICE

                 Copies of this Order were served upon attorneys of record on
                 January 10, 2018, by electronic and/or ordinary mail and also
                 on Phillip Harper #45528-039, USP Atlanta, U.S. Penitentiary,
                              P.O. Box 150160, Atlanta, GA 30315

                                       s/Barbara Radke
                                         Deputy Clerk




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